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                         IN THE UNITED STATES DISTRICT COUR
                     FOR THE FOR THE NORTHERN DISTRICT OF '
                                 FORT WORTH DIVISION


CHRISTOPHER WEAST,
     Petitioner,
                                                 Case No.:    4:17-CV-802-A
                                                             (4:14-CR-023-A)
v.


UNITED STATES OF AMERICA,
     Respondent.



        MOTION REQUESTING ADDITIONAL TIME TO FILE RESPONSE TO GOVERNMENT'S
                    RESPONSE TO MOTION UNDER 28 U.S.C. § 2255

      COMES NOW, Christopher Weast, Petitioner, in Pro-Se Capacity, with this
Motion Requesting Additional Time to file his response to the Government's
response to the motion under 28 U.S.C. § 2255.



     The Government's response was filed on November 7th, 2017; and covers a
a number of important considerations.    In order to provide a reply with the needed
attention to detail, petitioner requests an additional 30 days from the date of
this request to accomplish this task.


      Petitioner recently suffered an attack at FCI Hazelton, and spent almost 2
weeks in protective custody without access to his legal work.      The reasons listed
support granting this motion for additional time in the interests of justice.


     WHEREFORE, Petitioner Weast respectfully requests that this honorable court
grant this motion and allow the Petitioner to file his response on or before
December 17th, 2017; or any other relief to which he may be entitled.

                         Date:   11/17/2017             /Jb; /Ju~
                                                       Christopher Weast
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